         Case 1:22-mc-91079-DJC Document 13 Filed 03/07/22 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

Erik Johnson, an individual,                        Case No. Case No. 1:22-mc-91079
                                                    U.S. District Court for the District of Massachusetts
                  Plaintiff,
v.
                                                    PROCTORIO INC.’S MOTION TO
Proctorio, Inc., a Delaware corporation,            FILE DOCUMENTS UNDER SEAL

               Defendant.
___________________________________

Proctorio, Inc., a Delaware corporation,

                  Counterclaimant,
v.

Erik Johnson, an individual,

                  Counterdefendant.



       Pursuant to Local Rule 7.2, Defendant Proctorio, Inc. (“Proctorio”) hereby moves to file

the documents produced by Fight for the Future (“FFTF”) under seal as an exhibit to its

Memorandum in Opposition of Fight for the Future’s Motion to Quash or Modify Subpoena and

the Declaration of Jacob Canter (“Canter Declaration”). The documents, marked as Exhibit JC-

L, involve email exchanges between Plaintiff Erik Johnson (“Johnson”) and FFTF that are

responsive to Request for Production No. 1 (“RFP No. 1”). When responding to RFP No. 1,

FFTF stated that all documents in its possession that are responsive to RFP No. 1. had been

produced. See Canter Decl. ¶ 5; Ex. JC-1. After identifying a communication between Johnson

and FFTF that was produced by Johnson but not by FFTF, Counsel for Proctorio informed FFTF

that their response to RFP No. 1 appeared incomplete and provided information to help FFTF

identify the missing communications. FFTF then produced the communications shown in

Exhibit JC-L with a confidentiality designation. See Canter Decl. ¶¶ 7-11; Ex. JC-3.

       As grounds for filing under seal, Proctorio states that the exhibit encompasses

                                                1
         Case 1:22-mc-91079-DJC Document 13 Filed 03/07/22 Page 2 of 4




confidential documents produced by Johnson in discovery. Johnson has designated these

documents as confidential, so Proctorio seeks to comply with that designation in filing this

motion. Proctorio requests that the documents subject to this motion be sealed until further order

of the Court.

       WHEREFORE, Proctorio respectfully requests that the Court grant this motion and allow

Exhibit JC-L to be filed under seal and to be viewed only by the Judge, her clerk(s), and Court

personnel in conjunction with Proctorio’s memorandum and the Canter Declaration.

 Dated: March 7, 2022                                 Respectfully Submitted,

                                                      /s/ Harry P. Cohen
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                                                      * Pro Hac Vice Pending

                                                      Attorneys for Defendant Proctorio, Inc.


                                                2
          Case 1:22-mc-91079-DJC Document 13 Filed 03/07/22 Page 3 of 4




                        LOCAL RULES 7.1 and 37.1 CERTIFICATION

        In accordance with Local Rule 7.1(a) and Local Rule 37.1(a), I hereby certify that

Proctorio has conferred with FFTF in a good faith attempt to narrow or resolve the issues in

dispute. FFTF was made aware of this motion before it was filed, and takes no position with

respect to the relief requested.


                                                            /s/ Harry P. Cohen____________
                                                            Harry P. Cohen (BBO No. 089150)




                                                3
         Case 1:22-mc-91079-DJC Document 13 Filed 03/07/22 Page 4 of 4




                                 CERTIFICATE OF SERVICE

        I, Harry P. Cohen, hereby certify that on March 7, 2022, this document filed through the
ECF system will be sent electronically to the registered participants as identified on the Noticeof
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants.



                                                             /s/ Harry P. Cohen____________
                                                             Harry P. Cohen (BBO No. 089150)




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